Case 1:18-cv-06730-MKB-ST Document 19 Filed 09/30/21 Page 1 of 2 PageID #: 224




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 SHAIFAH SALAHUDDIN,

                                   Plaintiff,                       JUDGMENT
                 v.
                                                                    18-CV-6730 (MKB)
 RIVERDALE AVENUE PROPERTIES, LLC,
 BARRY BASRA SINGER, DANIEL CALLER,
 SHARP MANAGEMENT, LLC, ROSARIO RUIZ,
 LIBERTY PLACE PROPERTY MANAGEMENT
 LLC, PAUL SALILO, CASTELLAN REAL
 ESTATE PARTNERS, LLC, RICK SERRAPICA,
 CRP 482 RIVERDALE AVENUE, JANET DIFIORE,
 NYS UNIFIED COURT SYSTEM, RUTH ANNE
 VISNAUKAS and NYSHCR/DHCR,

                                    Defendants.
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         A Memorandum and Order of Honorable Margo K. Brodie, United States District Judge,

 having been filed on January 16, 2020, dismissing the Complaint for lack of subject matter

 jurisdiction; granting Plaintiff leave to file an amended complaint within thirty days from the

 entry of this Memorandum and Order and staying all proceedings for thirty days or until

 Plaintiff files an amended complaint, whichever is earlier; certifying pursuant to 28 U.S.C. §

 1915(a)(3) that any appeal from this Memorandum and Order would not be taken in good faith;

 denying in forma pauperis status for the purpose of an appeal, See Coppedge v. United States,

 369 U.S. 438, 444–45 (1962); and an Order having been filed on September 30, 2021, directing

 the Clerk of Court to enter judgment; it is

        ORDERED and ADJUDGED that the complaint is dismissed for lack of subject matter

jurisdiction; that pursuant to 28 U.S.C. § 1915(a)(3), any appeal from this Order would not be

taken in good faith; and that in forma pauperis status is denied for the purpose of an appeal. See

Coppedge v. United States, 369 U.S. 438, 444–45 (1962).
Case 1:18-cv-06730-MKB-ST Document 19 Filed 09/30/21 Page 2 of 2 PageID #: 225




Dated: Brooklyn, New York                       Douglas C. Palmer
       September 30, 2021                       Clerk of Court

                                          By:    /s/Jalitza Poveda
                                                 Deputy Clerk
